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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

CRYSTALLEX INTERNATIONAL
CORPORATION,

Plaintiff,
v. : C.A. No. 17-me-151-LPS

BOLIVARIAN REPUBLIC
OF VENEZUELA,

Defendant.

 

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OPINION

January 14, 2021
Wilmington, Delaware

 
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ST , U.S. District Judge: .

Crystallex International Corp. (“Crystallex”) holds a $1.4 billion judgment against the
Bolivarian Republic of Venezuela (“Venezuela” or “Republic”). Crystallex is seeking to collect
on its judgment against Venezuela by executing on property nominally owned by the Republic’s
state-owned oil company, Petrdleos de Venezuela, 8.A. (“(PDVSA”). The specific property
Crystallex asks this Court to attach and eventually sell is PDVSA’s shares of common stock of
its wholly-owned subsidiary, PDV Holding, Inc. (“PDVH”).

The extensive litigation that has occurred in this action to date has established (among
other things) that PDVSA is the alter ego of Venezuela and that PDVSA’s shares of PDVH stock
are not immune from attachment or execution. The Court has also issued Crystallex’s requested
writ of attachment and ordered the United States Marshals Service to serve iton PDVSA. Onan
interlocutory appeal, the Court of Appeals for the Third Circuit affirmed this Court's findings,
conclusions, and actions on these points. The Supreme Court then denied Venezuela’s and
PDVSA’s petition for a writ of certiorari. Hence, the case is now proceeding here on remand
from the Third Circuit.

Several motions are pending before the Court. The first is a motion filed by judgment
debtor Venezuela pursuant to Federal Rule of Civil Procedure 60(b). (D.I. 183) Venezuela’s
Rule 60(b) motion seeks relief from the Court’s orders of August 9 and 23, 2018, which
authorized and directed the Marshal to serve a writ of attachment on PDVSA’s shares of PDVEL.
By a separate motion, PDVSA, PDVH, and PDVH’s indirect subsidiary, CITGO Petroleum
Corp. (“CITGO” and, together with Venezuela, PDVSA, and PDVH, hereinafter “the Venezuela
Parties”), seek to quash that writ of attachment. (D.L. 178)

Crystallex opposes the Venezuela Parties’ motions. It has also filed a motion for an order

of sale of the attached PDVH shares. (DI. 181) The Venezuela Parties have submitted their

 
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own proposed procedures for such a sale, in the event their motions to alter the judgment and/or
quash the writ are denied. (D.I. 188) Nonparties Phillips Petroleum Company Venezuela
Limited and ConocoPhillips Petrozuata B.V. (“ConocoPhillips”) — who are also judgment
creditors of the Republic and are plaintiffs in their own actions pending in this Court! — have also
submitted proposed procedures for how the Court should conduct the sale of PDVH shares. (D.1.
180) Additionally, the United States government filed a Statement of Interest (“Statement”)
providing its position on aspects of the various motions, (D.I. 212) |

The Court received extensive briefing in connection with each of the motions. (See, 2.g.,
D.L. 179, 182, 196, 198-99, 201-02, 204, 206, 219-21, 223, 228-32) The Court also heard
telephonic oral argument on two occasions: July 17 and September 17, 2020 (see July 17, 2020
Hrg. Tr, (D.I. 214) (“July Tr.”); Sept. 17, 2020 Hrg. Tr. (D.L 226) (“Sept. Tr.”)).

For the reasons stated below, the Court will: (1) deny the Republic’s Rule 60(b) motion;
(2) deny the motion to quash the writ of attachment; and (3) grant in part Crystallex’s motion for
an order of sale. The Court sets out the contours of the process it will follow to conduct the sale
of PDVH shares. While the parties will have an opportunity to provide additional input with
respect to details of the sales procedures, the time has come for those procedures to be
established and implemented to the greatest extent feasible under current circumstances.

BACKGROUND

Crystallex’s decade-long collection efforts have been detailed in numerous prior opinions
of this Court and the Third Circuit. See, e.g., Crystallex Int’l Corp. v. Bolivarian Republic of
Venezuela, 333 F. Supp. 3d 380 (D. Del. 2018) (“Crystallex Writ Op.”), aff'd, 932 F.3d 126 Gd

Cir. 2019) (“Crystallex App. Op.”). A brief summary will suffice for present purposes.

 

! See Phillips Petroleum Co. Venezuela Lid. v. Petréleos de Venezuela, S.A., No. 19-mc-342-LPS
(D. Del.).

 
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As Judge Ambro wrote for the Third Circuit in July 2019:

Crystallex International Corp., a Canadian gold mining
company, invested hundreds of millions of dollars to develop gold
deposits in the Bolivarian Republic of Venezuela. In 201 {,
Venezuela expropriated those deposits and transferred them to its
state-owned oil company, Petréleos de Venezuela, S.A.
(“PDVSA”). To seek redress, Crystallex invoked a bilateral
investment treaty between Canada and Venezuela to file for
arbitration before the International Centre for Settlement of
Investment Disputes. The arbitration took place in Washington,
D.C., and Crystallex won; the arbitration panel awarded it $1.2
billion plus interest for Venezuela’s expropriation of its .
investment. The United States District Court for the District of
Columbia confirmed that award and issued a $1.4 billion federal
judgment. Now Crystallex is trying to collect.

Unable to identify Venezuelan-held commercial assets in
the United States that it can lawfully seize, Crystallex went after
U.S.-based assets of PDVSA. Specifically, it sought to attach
PDVSA’s shares in Petréleos de Venezuela Holding, Inc.
(“PDVH”), its wholly owned U.S. subsidiary. PDVH is the
holding company for CITGO Holding, Inc., which in turn owns
CITGO Petroleum Corp. (“CITGO”), a Delaware Corporation
headquartered in Texas (though best known for the CITGO sign
outside Fenway Park in Boston).

This attachment suit is governed by the Foreign Sovereign
Immunities Act of 1976, 28 U.S.C. §§ 1602-1611 (the “Sovereign
Immunities Act”), Under federal common law first recognized by
the Supreme Court in First National City Bank v. Banco Para El
Comercio Exterior de Cuba (“Bancec”), 462 U.S. 611, 103 8.Ct.
2591, 77 L.Ed.2d 46 (1983), a judgment creditor of a foreign
sovereign may look to the sovereign’s instrumentality for
satisfaction when it is “so extensively controlled by its owner that
a relationship of principal and agent is created.” Id. at 629, 103
S.Ct. 2591,

Interpreting Bancec, the District Court, per Chief Judge
Stark, concluded that Venezuela’s control over PDVSA was
sufficient to allow Crystallex to attach PDVSA’s shares of PDVH
in satisfaction of its judgment against the country. PDVSA and
Venezuela, along with PDVSA’s third-party bondholders as amici
(the “Bondholders”), challenge this ruling.

Venezuela and the Bondholders do not substantially contest

 
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the District Court’s finding that it extensively controlled PDVSA.

Rather, they raise various jurisdictional and equitable objections to

the attachment. Likewise, PDVSA primarily contends that its

tangential role in the dispute precludes execution against its assets

under Bancec irrespective of the control Venezuela exerts over it.

We affirm the District Court’s order granting the writ of

attachment and remand for further proceedings consistent with this

opinion.
Crystallex App. Op. at 132.

On October 1, 2019, the Third Circuit lifted its stay of this Court’s proceedings. (D.L.
136) Thereafter, in November 2019, the Court held a status conference, with all parties to the
instant action as well as the parties in other pending actions brought by judgment creditors of the
Venezuela Parties. (See D.I. 141; see also D.1. 139 Goint status report)) On December 12, 2019,
the Court issued a memorandum order that, among other things, stayed Crystallex’s enforcement
efforts until the conclusion of the Venezuela Parties’ attempt to obtain Supreme Court review of
the Third Circuit’s decision. (See D.I. 154; see also D.I. 166 (modifying stay order)) On May
18, 2020, the Supreme Court denied the petition for a writ of certiorari that the Republic and
PDVSA had filed. (See, e.g., D.I. 167) The parties’ subsequent disputes about how the Court
should proceed culminated in the pending motions.
DISCUSSION
IL The Venezuela Parties’ Attempts To Eliminate The Writ of Attachment
The Republic’s Rule 60(b) motion asks the Court to vacate the writ of attachment that has

been served on PDVSA, which holds shares of PDVH to be sold to satisfy Crystallex’s judgment
against Venezuela. At the same time, PDVSA, PDVH, and CITGO (the “PDVSA Parties”)

move for the Court to quash the writ of attachment. Together, the Venezuela Parties’ attempts to

eliminate the writ of attachment are predicated on new facts and circumstances, which

 
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purportedly render the writ inequitable to maintain, and on new legal arguments that were not
presented to the Court before it issued the writ. As the Court explains below, both motions lack
merit and will be denied.
A. Venezuela’s Rule 60(b) Motion
1. Legal Standards
Federal Rule of Civil Procedure 60(b) provides that a party may file a motion for relief

from a final judgment for the following reasons:

(1) mistake, inadvertence, surprise, or excusable neglect; (2) newly

discovered evidence that, with reasonable diligence, could not have

been discovered in time to move for a new trial under Rule 59(b);

(3) fraud (whether previously called intrinsic or extrinsic),

misrepresentation, or misconduct by an opposing party; (4) the

judgment is void; (5) the judgment has been satisfied, released, or

discharged; it is based on an earlier judgment that has been

reversed or vacated; or applying it prospectively is no longer

equitable; or (6) any other reason that justifies relief.
A Rule 60(b) motion must be filed within a reasonable time, which for subsections (1), (2), and
(3) is one year after the judgment being challenged. See Fed. R. Civ. P. 60(c)(1). A motion filed
pursuant to Rule 60(b) is committed to the sound discretion of the district court guided by
accepted legal principles as applied in light of all relevant circumstances. See Pierce Assocs.,
Inc. v. Nemours Found., 865 F.2d 530, 548 (3d Cir. 1988). The burden to obtain relief under
Rule 60(b) rests on the moving party, and it is a difficult standard to meet. See generally Bohus
v. Beloff, 950 F.2d 919, 930 (3d Cir. 1991). This reality stems from the judicial system’s
“overriding interest in the finality and repose of judgments,” which only “extraordinary” and

“exceptional” circumstances can “overcome.” Mayberry v. Maroney, 558 F.2d 1159, 1163-1164

(3d Cir, 1977).

 
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2. The Parties’ Contentions

The Republic moves for relief from the Court’s August 9 and 23, 2018 orders — which
authorized the writ of attachment and then ordered it to be issued and served — pursuant to Rule
60(b)(5) and 60(b)(6). In moving for relief, the Republic principally contends that changed
circumstances relating to the relationship between Venezuela and PDVSA vitiate the Court’s
alter ego determination. According to the Republic, since August 2018, it has “resurrected and
reinforced PDVSA’s independence” as a company. (D.I. 184 at 5) Further, the Republic argues
that one of the crucial predicates underpinning the Court’s August 2018 orders -- namely, that the
government of President Nicolas Maduro exerts control over PDVSA ~ no longer remains true,
for reasons including that the United States now recognizes Juan Guaid6 as Interim President.
According to Venezuela, Guaidé and the National Assembly have taken concrete steps to
confirm PDVSA’s independence from the Republic. (/d. at 9, 13) Relatedly, the Republic
points to the U.S. government’s 2019 amendment of sanctions it has imposed on Venezuela as
rendering the prospective application of the writ issued by this Court no longer equitable. Ud. at
15-16) Finally, the Republic contends that continuing the attachment of its U.S.-based assets
undermines U.S, efforts to help Venezuela mitigate its humanitarian crisis, restore democracy,
and pay all of its many creditors in a fair and just manner. (id. at 19-20)

Crystallex has multiple responses. With respect to Rule 60(b)(5), Crystallex contends
that relief is not available to the Republic because the writ is a final legal remedy and not a
prospective equitable remedy. (D.I. 199 at 1-2) In any event, according to Crystallex,
maintaining the writ of attachment continues to be equitable under the circumstances. (/d. at 2)
With respect to Rule 60(b)(6), Crystallex argues that the Republic has failed to identify any

“exceptional circumstances” to justify relief. (id. at 2-3) In Crystallex’s view, a debtor

 
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reforming practices after a court has imposed consequences for past bad behavior cannot be
“exceptional” in this context. (See id.)
3. Rule 60(b)()

The Court agrees with Crystallex that the Republic has failed to show it is entitled to
relief under Rule 60(b)(5). Venezuela has not demonstrated that prospective application of the
writ is no longer equitable.

Rule 60(b)(5) authorizes relief from a “final judgment, order, or proceeding” where
“applying it prospectively is no longer equitable.” The rule “provides a means by which a party
can ask a court to modify or vacate a judgment or order ifa significant change either in factual
conditions or in law renders continued enforcement detrimental to the public interest.” Horne v.
Flores, 557 U.S. 433, 447 (2009) (internal quotation marks omitted). Rule 60(b)(5) permits
modification of a judgment on equitable grounds, however, “only if it is ‘prospective,’ or
executory.” Marshall v. Bd. of Educ., 575 F.2d 417, 425 (3d Cir. 1978). “[T]he class of
judgments having prospective application” is “restricted to forward-looking judgments, such as
injunctions and consent decrees.” Comfort v. Lynn Sch. Comm., 560 F.3d 22, 28 (ist Cir. 2009).
Even then, relief is “limited . . . to injunctions and consent decrees that involve ‘long-term
supervision of changing conduct or conditions.’” Jd. (quoting Paul Revere Variable Annuity Ins.
Co. v. Zang, 248 F.3d 1, 7 (ist Cir. 2001)); see also Coltec Indus., Inc. v. Hobgood, 280 F.3d
262, 272-273 (3d Cir. 2002) (distinguishing cases “involv{[ing] injunctions or consent decrees
regulating ongoing behavior” from cases in which party failed to make promised payments and
“attempt[ed] to use its failure . . . to its own advantage”).

The Republic’s motion for relief under Rule 60(6)(5) fails, first, because the writ of

attachment that the Court issued and had served on PDVSA is not the type of prospective or

 
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executory order to which this Rule applies. Under Delaware law, the issuance of a writ of
attachment is a “purely legal remedy” that represents a legal property interest. Spoturno v.
Woods, 192 A. 689, 692 (Del. 1937). The attachment is not “prospective” in the sense in which
that term is used in Rule 60(b)(5), even though it is a necessary precursor to a sale of shares that
has not yet occurred and, plainly, will have some future effect. See Marshall, 575 F.2d at 425
n.27 (“A ‘prospective’ injunction envisions a restraint of future conduct, not an order to remedy
past wrongs when the compensation payment is withheld from the beneficiaries until some
subsequent date.”); Twelve John Does v. District of Columbia, 841 F.2d 1133, 1139 (D.C. Cir.
1988) (“[T]he standard we apply in determining whether an order or judgment has prospective
application within the meaning of Rule 60(b)(5) is whether it is ‘executory’ or involves “the
supervision of changing conduct or conditions.’”). While the Court will need to be involved in
the sale of PDVSA’s shares of PDVH, the Court’s continuing role is merely to remedy the past
wrong committed by the Republic by ensuring compensation for Crystallex; it is not the type of
ongoing judicial oversight of future conduct to which Rule 60(b)(5) applies. See, e.g., Twelve
John Does, 841 F.2d at 1138 (“Virtually every court order causes at least some reverberations
into the future, and has, in that literal sense, some prospective effect; even a money judgment has
continuing consequences, most obviously until it is satisfied... .”); see also Keepseagle v.
Vilsack, 118 F. Supp. 3d 98, 125 (D.D.C. 2015) (finding ey pres provision of agreement
analogous to unpaid damages but not “prospective” merely because it “le[ft] some administrative
responsibilities to be executed”).

The Court is denying Venezuela relief under Rule 60(b)(5) for the further reason that
Venezuela has failed to show that continued application of the writ of attachment is no longer

equitable. Instead, it would be inequitable to permit the Republic — an adjudicated judgment

 

 
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debtor, which has acknowledged that it must pay Crystallex what it owes’ and evidently has the
means to do so (at least through sale of PDVSA’s shares of PDVH) — to evade its obligation and,
thereby, undermine the authority of the U.S. judicial system. As Crystallex observes, and as
other courts have recognized, a party that is inequitably refusing to pay a final judgment of the
U.S. courts will rarely (if ever) be able to obtain equitable relief for itself from those same courts,
(See, ¢.g., Sept. Tr. at 54 (“They simply do not want to pay, and they want our courts to aid them
in evading our judgments.”); see also Motorola Credit Corp. v. Uzan, 501 F.3d 123, 128 (2d Cir.
2009) (faulting foreign defendants for refusing to comply with court orders and then having “the
chutzpah to seek post-judgment, equitable relief from complying with those orders”))

In reaching these conclusions about the equities, the Court is not holding that real-world
facts ot legal consequences are (to borrow the Republic’s terminology) “frozen in amber.” (See,
e.g., July Tr. at 14; Sept. Tr. at 28-29) Instead, the Court is giving the necessary and proper
weight to a final judgment whose validity has been repeatedly recognized in our courts,
including the Courts of Appeals for the D.C. Circuit and Third Circuit as well as the District
Courts for D.C. and Delaware.

Relatedly, with respect to the equitable analysis, the Court does not see any relevance to
the fact that PDVSA has not been held liable for the debts of Venezuela. As Crystallex asked,
the Court held only that specified PDVSA property (the shares of PDVH) could be used to
satisfy Venezuela’s debt to Crystallex. That Crystallex did not seek or receive even more
substantial judicial relief does nothing to undermine the equitable importance of enforcing the

relief that Crystallex did obtain and ensuring that the final judgment against Venezuela is fully

 

2 See, e.g., July Tr. at 18 (“We’ve tried to be very clear that the Guaido government recognizes
that Venezuela does have to pay this claim... .”); id. at 52 (“We have said over and over again
we acknowledge our responsibility for these debts.”); Sept. Tr. at 58-59.

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effectuated.

Finally, the Court is also unpersuaded by the Republic’s refrain that “it would be
inequitable” for Crystallex to collect on its judgment when “all of those other judgment
creditors” who have been injured by the Republic are not (yet) about to be paid. (July Tr. at 22-
23) Crystallex has done nothing inequitable in litigating against the Republic for more than a
decade and prevailing in every forum that has considered the parties’ disputes.? While the Court
joins Crystallex — and, evidently, the United States and the Republic — in hoping that, someday
soon, Venezuela will find a way to pay all its debts and also alleviate the terrible suffering in
Venezuela, the possibility that this outcome may not be achieved before Crystallex receives what
it is owed does not absolve this Court of its duty to comply with the Third Circuit’s orders on
remand. As the Third Circuit plainly stated, “Venezuela owes Crystallex from a judgment that
has been affirmed in our courts. Any outcome where Crystallex is not paid means that
Venezuela has avoided its obligations.” Crystallex App. Op. at 149.

4. Rule 60(b)(6)

Rule 60(b)(6) is a “catch-all” provision, permitting a party to seek reconsideration for
“any other reason that justifies relief,” i.e., reasons not expressly identified in subsections (b)(1)
through (b)(5). The Third Circuit has consistently held that Rule 60(b)(6) provides
“extraordinary relief” that is available only in “exceptional circumstances” to address an extreme
or unexpected hardship. Coltec Indus. , 280 F.3d at 273; see also Budget Blinds, Inc. v. White,

536 F.3d 244, 255 (3d Cir. 2008). Here, the Court agrees with Crystallex that the Republic has

 

3 See generally July Tr. at 27 (Crystallex’s counsel: “[Crystallex] has had to spend money
chasing assets of the Republic because Venezuela refuses to comply voluntarily with a full and
final judgment of the D.C. [District Court] that was affirmed with the D.C. Circuit, and it’s final
and uncontestable, We’re having to search for assets of Venezuela everywhere and to seek
attachment because Venezuela does not want to comply with a final judgment of the D.C.
Circuit.”).

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failed to demonstrate the existence of exceptional circumstances that would justify the
extraordinary relief that it seeks.

The Republic argues that exceptional circumstances are present because Venezuela has a
new government and the new government no longer exercises extensive control over PDVSA.
(See generally July Tr. at 12, 14-15) Thus, to the Republic, PDVSA is no longer Venezuela’s
alter ego, so there is no “continuing validity of Crystallex’s right to encumber PDVSA’s
property” based on a debt owed solely by Venezuela. (D.I. 184 at 11) A finding of exceptional
circumstances is further supported, according to the Republic, by the fact that the U.S.
government recognizes the new Venezuelan government and has imposed stringent sanctions on
the Maduro regime in aid of the new Guaidé-led government.

The Court disagrees. Venezuela’s motion under Rule 60(b)(6) fails because it is
predicated on the Court giving weight (indeed, controlling weight) to events that post-date the
situation as it existed at the pertinent time, i.e., the period between the filing of the motion
seeking a writ of attachment and the subsequent issuance and service of that writ. Venezuela’s
arguments are entirely inconsistent with the very purpose of a writ of attachment, which is to
hold property of a judgment debtor in the custody of the Court so it can be used for the benefit of
the judgment creditor no matter what happens in the future. Hence, crediting Venezuela's
position could render this entire litigation a nullity - which would be a highly unusual outcome,
particularly given that Crystallex has prevailed in every court that has considered any aspect of
this case.

The Court agrees with Crystallex that the important dates are the dates on which it filed

its motion for a writ of attachment, on which the writ of attachment was issued, and on which the

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writ was served. (See, e.g., July Tr. at 32; Sept. Tr. at 19-20)* Before the Court granted
Crystallex’s motion for a writ, PDVSA was free to alienate its shares of PDVH. After that date,
however, the shares were attached; that is, they were (and remain) restricted from alienation by
operation of the Court’s order. To conclude that the pertinent date of analysis is any date after
service of the writ would undermine the entire logic of issuing the writ in the first place.

No party has presented the Court with legal authority, and the Court is aware of none,
that requires the Court to reconsider its alter ego determination, a determination that was made
based on the record that the parties chose to make, and which was upheld on appeal. As
Crystallex persuasively explains:

PDVSA was Venezuela’s alter ego when it received Crystallex’s

expropriated assets for no consideration, when it paid Venezuela’s

fees in the underlying arbitration with Crystallex, when Venezuela

used it to access U.S. credit markets, when Crystallex filed its

attachment motion, and when this Court ruled on that motion. No

federal or state authority provides any precedent for Venezuela and

PDVSA avoiding accountability for that past conduct by changing

course after this Court has made its dispositive alter-ego finding.
(D.I. 199 at 15) Thus, any change in the status of the relationship between PDVSA and the
Republic after the Court’s August 2018 rulings does not constitute an exceptional circumstance
justifying relief under Rule 60(6)(6). Because all the events on which Venezuela relies —
including the Guaidé administration’s changes with respect to the PDVSA board, the National
Assembly’s adoption of new laws, the U.S. government’s January 2019 recognition of the

Guaidé government, and amendment of U.S. sanctions on Venezuela — post-date August 2018,

they do not provide a valid basis for relief. (See, e.g., D.I. 219 at 7; D.I. 224 at 4)

 

4 In so holding, the Court is not suggesting that historical events preceding the filing of the
motion for a writ are irrelevant. Historical facts could have an impact, even a substantial or
perhaps dispositive impact, on assessing (for example) whether an alter ego relationship exists in
the pertinent period.

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Venezuela’s contrary view is based on little more than suggestions from the Third Circuit
and this Court that the record might be expanded with evidence arising after August 2018 (see
D.L. 184 at 12 (citing Crystallex App. Op. at 144; Crystallex Writ Op. at 425)), and a citation to
Bancec’s statement that the pertinent inquiry must take account of current circumstances, in light
of its design to safeguard international comity. These are, at best, weak support for requiring the
Court to reevaluate in 2020 or 2021 an alter ego finding that it made on a record created in 2018,
which was the basis for findings that were affirmed in 2019. Adopting Venezuela’s position
would invite abuse; it would permit a judgment debtor whose alter ego’s property has been
attached to “fix” whatever facts supported the adverse alter ego determination and then delay,
appeal, and ultimately escape having to pay its judgments.

Moreover, courts have held that a change in government is not the type of extraordinary
event sufficient to be the basis for relief under Rule 60(b)(6). See Socialist Republic of Romania
y. Widenstein & Co., 147 F.R.D. 62, 66 (S.D.N.Y. 1993). To the contrary, such changes occur
“regularly, and to allow such . . . event[s] to support a Rule 60(b)(6) motion would wholly negate
the finality of judgments.” Jd. at 65-66.

The Court finds further confirmation for its conclusion (that events post-dating the
August 2018 issuance and service of the writ of attachment do not constitute exceptional
circumstances warranting extraordinary relief under Rule 60(b)(6)) in the reality that Venezuela
and PDVSA brought these same “new” facts to the attention of the Third Circuit, which
nonetheless affirmed this Court’s alter ego finding. Additionally, Venezuela finds itself in its
present situation because of its own “deliberate choices” as a litigant, i.e., its refusal to pay
judgments that it recognizes that it will eventually have to pay. (July Tr. at 38-39; see also Sept.

Tr. at 11) Troubling incentives would be created if a party’s own inequitable conduct were later

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found to create the type of exceptional circumstances justifying relief for that party from a final
judgment.

Thus, again, Venezuela’s motion for relief under Rule 60(b)(6) will be denied.

5. Interests of the United States

In deciding to deny the Republic’s motion, the Court has carefully considered the
statement of interest and arguments made by the United States (as the Court has also done in
connection with the sales procedures, as discussed below). The U.S. government, like
Venezuela, takes the position that “fundamental premises underlying the alter ego ruling no
longer hold,” which the U.S. says could justify granting the Republic’s motion, although it
“express[es] no firm legal position on whether [the changed] circumstances require Rule 60(b)
relief.” (DJ. 212 at 8; see also D.1. 220 at 1) For the reasons already explained above, the Court
has determined that the changed circumstances post-dating the August 2018 alter ego finding do
not justify the relief sought by Venezuela.

Understandably, the government (like the parties) has devoted much attention to the
sanctions regime, which is implemented by the United States Department of Treasury’s Office of
Foreign Assets Control (“OFAC”). In the Court’s view, the 2019 changes to the OFAC
sanctions do not amount to exceptional circumstances warranting Rule 60(b) relief.° The

sanctions are established by Executive Orders and through regulations imposing licensing

 

5 The Court is grateful to the United States Department of Justice for filing a Statement of
Interest and a supplemental brief (see D.I. 212, 220) and for participating in the oral arguments
in July and September 2020. Although the Court has not been persuaded to act in accordance
with the government’s request, it has been helped by the government’s input ~ which the Court
has long sought (see, e.g., DI. 154 at 9.14, 23 n.25) and hopes to continue to receive as this
case proceeds.

6 Nor does the government contend that they do. (See D.[. 220 at 1) (declining to take “firm
legal position” on whether Rule 60(b) relief is warranted)

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requirements for certain transactions with the Republic. See, e.g., 31 C.F.R. §§ 591.201,
§91.202(c), 591.310; see also Exec. Order Nos. 13,692 (Mar. 8, 2015), 13,835 (May 21, 2018),
13,850 (Nov. 1, 2018), 13,884 (Aug. 5, 2019). The Court previously held that Executive Order
13,835, which governed the sanctions regime in August 2018, “does not pose a bar to granting
relief.” Crystallex Writ Op. at 421. Likewise now, the modified sanctions regime does not
require a retroactive change in the order granting the writ. While the current sanctions regime
does appear fo block issuance of new writs of attachment on Venezuelan assets in the United
States without an OFAC license — as Crystallex and the Republic agree (see, e.g., July Tr. at 41,
D.I. 203 at 9) — neither the Executive Orders nor the regulations require invalidating preexisting
judicial orders. See Exec, Order No. 13,884 §§ 1{a), 1(c), 6(d); Exec. Order No. 13,850; 31
C.F.R. §§ 591.201, 591.202(e), 591.407, 591.506(c).

The OFAC licensing process is important for another reason: it provides a mechanism by
which the interests the government has expressed to the Court can be taken into account by the
Executive Branch itself. Ail involved in this litigation, including Crystallex, recognize that
(under current law and policy) a specific license will be required from OFAC before a sale of
PDVSA’s shares of PDVH can close. The Court understands that the process by which OFAC
reviews an application for such a license includes consideration of the foreign policy and
national security interests the government has asked the Court to consider in this litigation. See
Crystallex App. Op. at 151 (“[I]t is . . . conceivable that short- or long-term U.S. foreign policy
interests may be affected by attachment and execution of PDVSA’s assets. The Treasury
sanctions provide an explicit mechanism to account for these.”).

Thus, again, the Court will deny Venezuela’s Rule 60(b) motion.

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B. PDVSA Parties’ Motion To Quash

PDVSA, PDVH, and CITGO (collectively, the “PDVSA Parties”) move to quash the writ
of attachment that has been served on PDVSA relating to its shares of PDVH. The PDVSA
Parties’ motion to quash rests on two contentions: (i) under Delaware law, Crystallex cannot
attach PDVSA’s shares of PDVH to satisfy a judgment against Venezuela without showing
fraud, which Crystallex has failed to do; and (ii) even if Crystallex could attach PDVSA’s shares
of PDVH to satisfy its judgment against Venezuela, the writ is “inoperable” because PDVH does
not possess the physical certificates representing the shares owned by PDVSA. (D.L 179 at 2-4)
The Court concludes that PDVSA is collaterally estopped from arguing that the writ of
attachment is invalid under Delaware law, as the validity of the writ was already litigated and
determined by this Court in 2018 and upheld by the Third Circuit in 2019. The Court also
concludes that PDVSA is judicially estopped from pressing its new contention based on lack of
physical possession of shares certificating PDVSA’s holdings because it contradicts numerous
representations PDVSA made to this Court and the Court of Appeals to obtain relief (such as
stays and not having to post a bond). PDVSA’s wholly-owned subsidiary, PDVH, and PDVH’s
indirect subsidiary, CITGO, are bound to the same extent as PDVSA. Finally, the Court
concludes that the PDVSA Parties’ Delaware law challenges are also untimely.

1. Collateral Estoppel Precludes PDVSA from
Challenging the Validity of the Writ Under Delaware Law

The PDVSA Parties argue that Federal Rule of Civil Procedure 69(a), which authorizes
exectition on property in accordance with “the procedure of the state where the court is located,”
applies to attachment actions involving foreign states, notwithstanding the statutory immunity
provisions of the Foreign Sovereign Immunities Act (“FSIA”) of 1976, Pub. L. No. 94-583, 90

Stat, 2891 (codified as amended in 28 U.S.C.). (D.I. 179 at 7-8) Thus, according to the PDVSA

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Parties, Crystallex’s ability to satisfy its judgment against the Republic by executing on
PDVSA’s shares of PDVH depends on application of Delaware law. (Id. at 9) Under Delaware
law, the PDVSA Parties continue, (i) Crystallex may not pierce the corporate veil under an alter
ego theory and thereby attach PDVSA’s shares of PDVH without a showing of fraud; and
(ii) Crystallex failed to allege or prove fraud with particularity during any relevant period. (/d. at
9-13) Moreover, according to the PDVSA Parties, to this point in the litigation this Court has
“only decided that PDVSA was Venezuela’s alter ego for purposes of resolving sovereign
immunity under the FSIA. It never decided the question of whether Venezuela has an attachable
interest in the shares of’ PDVH under Delaware law. (July Tr. at 55)

The Court agrees with Crystallex that collateral estoppel precludes the PDVSA Parties
from now challenging the validity of the writ under Delaware law. (See generally DI. 199 at 20-
24) While the litigation to date has focused on the FSIA, Bancec, and federal law, this Court’s
findings were not limited to issues of federal law. In addition to denying PDVSA’s motion to
dismiss - which was predicated principally on federal-law issues of jurisdiction and immunities
with respect to Venezuela, PDVSA, and the shares of PDVH — the Court also granted
Crystallex’s motion to issue the writ. The Court rej ected whatever challenges PDVSA made to
the validity of that writ and ordered the writ to be served. The Court’s orders resulting in service
of the writ were affirmed on appeal. At this point, then, the PDVSA Parties are collaterally
estopped from challenging the validity of the writ under Delaware law.

Collateral estoppel (also known as issue preclusion) applies where “(1) the identical issue
was previously adjudicated; (2) the issue was actually litigated; (3) the previous determination
was necessary to the decision; and (4) the party being precluded from relitigating the issue was

fully represented in the prior action.” Henglein v. Colt Indus. Operating Corp., 260 F.3d 201,

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209 (3d Cir, 2001) (internal quotation marks omitted). Each of these requirements is satisfied
here. (See generally D.L. 229 at 1) (Crystallex: “PDVSA and its affiliates are estopped from
relitigating these issues because PDVSA actually litigated the merits of the writ of attachment of
its own accord and this Court and the Third Circuit actually decided them adversely to PDVSA’s
arguments.”) The identical issue that the PDVSA Parties now wish to have adjudicated — the
validity of the writ of attachment served on PDVSA to attach its shares of PDVH — was
previously adjudicated, was actually litigated, and was necessarily decided in the course of this
Court deciding to grant Crystallex’s motion for a writ of attachment, issue that writ, and have it
served. Further, it is undisputed that PDVSA has been fully represented at all stages of this
litigation ever since it chose to intervene.

That PDVSA now raises new arguments in support of its old position does not defeat
application of collateral estoppel. As the Third Circuit has stated, “Once an issue is raised and
determined, it is the entire issue that is precluded, not just the particular arguments raised in
support of it in the first case.” Alevras v. Tacopina, 226 F. App’x 222, 231 (3d Cir. 2007)
(internal alteration omitted). The issue that PDVSA wants to litigate in its motion to quash — the
validity of the writ — is the very issue that this Court already decided. That the earlier part of the

litigation focused on federal-law arguments against the validity of the writ and PDVSA now

 

wants to make arguments based on Delaware law does not change the reality that the validity of

the writ has already been litigated.’

 

 

7 Although collateral estoppel would apply even if this Court had decided the validity of the writ
without any express reference to Delaware law, in fact both parties and the Court did allude to
Delaware law in the earlier part of this litigation. For instance, PDVSA argued in opposition to
Crystallex’s motion for a writ of attachment that Bancec should be applied in accordance with
Delaware corporate law, that “Delaware law is crystal-clear that alter ego liability applies only in
the rare circumstance where the corporate form is abused to perpetrate a fraud against the
plaintiff,” and that a clear-and-convincing-evidence standard applies. (D.I. 26 at 16-17 (citing
cases applying Delaware law that require showing of fraud or similar injustice); see also DI. 179

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In resolving PDVSA’s appeal, the Third Circuit explicitly stated that it was reviewing
both “the District Court’s denial of PDVSA’s motion to dismiss as an immune sovereign and the
grant of Crystallex’s motion for a writ of attachment under Federal Rule of Civil Procedure 69.”
Crystallex App. Op. at 136 (emphasis added). It further observed that its jurisdiction to review
the denial of the motion to dismiss arose “under the collateral order doctrine” and that it had
appellate jurisdiction over the grant of the writ because that order “amounted to a final judgment
under 28 U.S.C. § 1291 by leaving the District Court nothing left to do but execute.” Crystallex
App. Op. at 136 (emphasis added; internal quotation marks omitted). The Third Circuit could not
have characterized this Court’s decision to grant the motion for a writ of attachment as a final
order, and as one leaving this Court with “nothing . . . to do but execute,” had the Third Circuit
required or intended for this Court to permit additional challenges to the validity of the very writ
it was describing as “final.”

Other statements in the Third Circuit’s opinion further confirm that the validity of the
writ has been actually, necessarily, and finally resolved. The Court of Appeals held that “so long
as PDVSA is Venezuela’s alter ego under Bancec, the District Court had the power to issue a
writ of attachment on that entity’s non-immune assets to satisfy the judgment against the
country.” Crystallex App. Op. at 139. This means that if the Bancec standard is met — as it has

been here — then PDVSA’s shares of PDVUH are validly attached and can be executed on; no

 

at 2-3) In rejecting these arguments, the Court considered “cases applying state-law alter ego
standards” but found them “unpersuasive” and “unhelpful.” Crystallex Writ Op. at 396 n.13,
405; see also id, at 387-388 (legal standards section quoting 10 Del. C. § 5031; 8 Del. C.

§ 324(a)); id. at 425 n.48 (noting parties’ agreement that Delaware law requires execution of writ
to take place through public sale of attached shares).

8 Crystallex also observes that implicit in Venezuela’s filing of a motion pursuant to Rule 60(b) --
which, after all, authorizes relief “from a final judgment” (emphasis added) -- is Venezuela’s
recognition that everything about the validity of the writ has already been litigated. (See, e.g.,
July Tr. at 81)

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more challenge to the writ is contemplated. Similarly, the Third Circuit said that “[t]he District
Court acted within its jurisdiction when it issued a writ of attachment on PDVSA’s shares of
PDVH to satisfy Crystallex’s judgment against Venezuela.” Id. at 152 (emphasis added). This
means, again, that the writ is valid — under federal law and, to the extent anyone had a basis to
challenge its validity under state law, under state law as well.

Following the September oral argument, PDVSA submitted supplemental authority
relating to an issue about which the Court had inquired: whether PDVSA was required to raise
merits defenses to Crystallex’s motion for a writ of attachment at the same time PDVSA was
briefing its purported entitlement to immunity under the FSIA. (See D1. 227; see also D.I. 229-
32; Sept. Tr. at 40) The case on which PDVSA relies, Process & Industrial Development Ltd. v.
Federal Republic of Nigeria, 962 F.3d 576, 580 (D.C. Cir. 2020), addresses a situation in which
the foreign sovereign, Nigeria, was forced, over its objection, to present all its jurisdictional and
merits arguments in a single response to a petition for confirmation of an arbitration award. The
Court of Appeals for the D.C. Circuit held that the district court had erred in requiring Nigeria to
“brief the merits before resolving a colorable assertion of immunity.” Id. at 579. Process does
not help PDVSA evade the application of collateral estoppel here because the situation is
fundamentally different from the one addressed by the D.C. Circuit.

As an initial matter, the analogy between the Process scenario and the situation here is
imperfect, as it is not entirely clear that what Process meant by “merits” is truly analogous to the
Delaware law issues PDVSA now seeks to press as a basis for quashing the writ. In any event,
even accepting that PDVSA is now raising “merits” defenses, PDVSA is collaterally estopped
because PDVSA (unlike Nigeria in Process) voluntarily intervened in the earlier stages of this

litigation and voluntarily interjected those “merits” defenses into this case at that time. As

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already explained, PDVSA opposed Crystallex’s motion for a writ of attachment on both
jurisdictional and “merits” grounds, under both federal and Delaware law. (See, e.g., DL. 26 at
2, 20-23, 25, 27) (examples of PDVSA arguing merits of Crystallex’s motion for attachment) As
Process confirms, PDVSA was “free to oppose” the motion in that manner. See 962 F.3d at 585.
PDVSA was not forced, over its objection, to argue its merits positions simultaneously with its
jurisdictional positions; it chose to do so. But that choice has consequently led to the application
of collateral estoppel.

Because PDVSA’s Delaware law challenges to the validity of the writ are barred by the
doctrine of collateral estoppel, the Court will not substantively address them.

2. Judicial Estoppel Bars PDVSA from Prevailing
on its Lack of Physical Certificates Argument

As an additional basis to quash the writ of attachment, the PDVSA Parties argue that
Delaware law requires physical seizure of stock certificates for an effective attachment of shares
of a Delaware corporation, but PDVH does not possess physical certificates representing any
property belonging to PDVSA, so this Court’s attachment is “not laid.” (D.I. 179 at 14-16; see
also 8 Del. C. § 324(a) (stating that, “[e]xcept as to an uncertificated security . . . attachment is
not laid and no order of sale shall issue” unless 6 Del. C. § 8-112 has been satisfied), 6 Del. C.

§ 8-112(a) (“[T]he interest of a debtor in a certificated security may be reached by a creditor only
by actual seizure of the security certificate by the officer making the attachment or levy.”)) The
Court agrees with Crystallex that PDVSA is judicially estopped from prevailing on this
argument. (D.I. 199 at 27-37)

“The doctrine of judicial estoppel prevents a party from prevailing in one phase of a case
on an argument and then relying on a contradictory argument to prevail in another phase.”

Carlyle Inv. Mgmt. LLC v. Moonmouth Co. SA, 779 F.3d 214, 221-22 (3d Cir. 2015); see also

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New Hampshire v. Maine, 532 U.S. 742, 750-751 (2001) (identifying factors commonly
considered in assessing whether to apply judicial estoppel, including (1) whether party’s current
position is “clearly inconsistent” with its earlier position, (2) whether acceptance of later
inconsistent position would create “perception” that court had been “misled,” and (3) “whether
the party seeking to assert an inconsistent position would derive an unfair advantage or impose
an unfair detriment on the opposing party if not estopped”). Thus, “absent any good
explanation, a party should not be allowed to gain an advantage by litigation on one theory, and
then seck an inconsistent advantage by pursuing an incompatible theory.” Ryan Operations
G.P. y. Santiam-Midwest Lumber Co., 81 F.3d 355, 358 (3d Cir. 1996) (quoting 18 Charles A.
Wright, Arthur R. Miller & Edward H. Cooper, Federal Practice and Procedure § 4477 (1981)).

Judicial estoppel applies here. In August 2018, PDVSA persuaded the Court not to
impose a bond requirement when it stayed proceedings pending PDVSA’s interlocutory appeal.
(See D.J. 98) PDVSA obtained this relief by assuring the Court that “a bond .. . is unnecessary
because the Writ itself is sufficient security in lieu of a bond,” adding that “{g]ranting an
unconditional stay does not make Crystallex any worse off than it is today” because “a writ of
attachment . . . provides the same functional security as a supersedeas bond.” (D.1. 98 at 6, 17)
PDVSA further assured the Court that it would be “a waste of money” to require a bond because
the writ is “more than enough security in lieu ofa bond.” (Ud. at 19; see also D.I. 118 at 10
(stating on reply that “the current restraint on the PDVH shares by virtue of the Writ... could
constitute sufficient security in lieu of a bon 9

In making these representations to the Court, PDVSA was stating that the writ was valid

 

9 Likewise, in December 2019, the Court again denied Crystallex’s request for a bond, when it
stayed these proceedings while the petition for a writ of certiorari was proceeding in the Supreme
Court. (D.1. 154) The Court did so based on the Republic’s representation that Crystallex was
“fully secured for whatever the value is of those assets.” (id. at 4 n.4)

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and that, unless PDVSA were to prevail on appeal, Crystallex would execute on the writ and
collect its judgment. (See, e.g., Sept. Tr. at 55) (Crystallex explaining that PDVSA
“affirmatively, factually represented, in order to dispense with the bond, that the writ was
effectual to give [Crystallex] security, and that [Crystallex] would have recourse to the shares to
sell”) PDVSA’s new contention that the writ is not valid under Delaware law because PDVH
does not possess the physical certificate — and, thus, the writ has no value to Crystallex — is
inconsistent with PDVSA’s prior assurances that the writ secured Crystallex. There is no good
explanation for PDVSA’s change of positions. Instead, allowing PDVSA to prevail based on its
new argument would show that the Court was previously misled by PDVSA into believing that
the validity of the writ would not be subject to any further post-appeal challenge. It would be
inequitable for PDVSA to prevail based on its present position, which is incompatible with its
prior position.

Similarly, in opposing Crystallex’s motion to expedite the appellate proceedings, PDVSA
told the Third Circuit that “there is nothing that PDVSA can do to ‘prejudice’ or ‘disturb’ the
writ of attachment,” and that “Crystallex’s writ of attachment also preclude[s] any transactions in
the PDVH shares.” (Crystallex Int'l Corp. v. Bolivarian Republic of Venezuela, No. 18-2797,
Doc. No. 3113121203 (3d Cir. Dec. 28, 2018), Opp. to Mot. to Expedite at 16, 18) At various
points, PDVSA likewise made representations to this Court that Crystallex would not be harmed
by these proceedings moving slowly because the writ protected Crystallex’s interests. (See DI.
199 at 34-35 (listing representations PDVSA made in Novembet 2019, December 2019, and
February 2020, all seeking to slow down proceedings); see also Sept. Tr. at 69-73)) it would be
inequitable to permit the PDVSA Parties to quash the writ based on PDVH’s lack of physical

possession of the share certificates when PDVSA repeatedly relied on the protection of the writ

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to persuade this Court not to expedite this litigation.

Relatedly, in August 2018, PDVSA told the Court that “[t]he PDVH shares are located in
Delaware, and they are not going anywhere.” (D.L 98 at 6, 15) PDVSA now asserts that it was
merely making a representation about a legal fiction, not a statement of fact. According to
PDVSA, all it was saying was that under 8 Del. C. § 169, “for ownership purposes, the location
of the shares [is] in Delaware.” (July Tr. at 100) The Court, however, understood PDVSA to be
making a factual statement: that the shares were in Delaware, so the Court need not be concerned
about prejudice to Crystallex, as Crystallex’s rights were protected by the attached shares that
would remain available in Delaware to sell and satisfy Crystallex’s judgment. PDVSA’s current
explanation is not credible and, even if it were, it does not render application of judicial estoppel
inequitable. PDVSA persuaded the Court not to require a bond by telling the Court that the
shares were in Delaware, then later admitted that the shares are not in Delaware (and cannot even
be located). To permit PDVSA to avoid attachment and execution based on this lack of candor
with the Court would be grossly unfair to Crystallex and would undermine the integrity of these
proceedings.

Accordingly, the Court will not quash the writ based on PDVH’s lack of physical
possession of a share certificate.

3. PDVH and CITGO Are Estopped To The Same Extent As PDVSA

The PDVSA Parties seeking to quash the writ of attachment include PDVH and CITGO.
Even though much of what the Court has said in connection with the motion to quash focuses on
PDVSA, the Court’s collateral estoppel and judicial estoppel conclusions also estop PDVH and
CITGO from prevailing on this motion.

Estoppel doctrines, including collateral and judicial estoppel, can apply “not only against

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actual parties to prior litigation, but also against [those] in privity to a party.” Milton H. Green
Archives, Inc. v. Marilyn Monroe LLC, 692 F.3d 983, 986 (9th Cir. 2012); see also Board of Trs.
of Trucking Emps. of N. Jersey Welfare Fund, Inc. v. Centra, 983 F.2d 495, 505 (3d Cir. 1992)
(noting that one requirement for collateral estoppel is that “the party against whom the bar is
asserted was a party or in privity with a party to the prior adjudication”) (emphasis added);
Maitland v. University of Minnesota, 43 F.3d 357, 364 (8th Cir. 1994); In re Johnson, 518 F.2d
246, 252 (10th Cir. 1975). This is because “a party bound by a judgment may not avoid its
preclusive force by relitigating through a proxy.” Taylor v. Sturgell, 553 U.S. 880, 895 (2008).
PDVH and CITGO are in privity with PDVSA, at least for purposes of this litigation.
PDVH and CITGO are wholly-owned subsidiaries of PDVSA. See Crystallex Writ Op. at 418
2.36. All three entities share a “commonality of . . . interest in [this] matter” in that all three
prefer that Crystallex collect on its judgment against Venezuela without involving PDVSA,
PDVH, or CITGO. See generally Doe v. Urohealth Sys., Inc., 216 F.3d 157, 162 (1st Cir. 2000).
As Crystallex correctly observes, “both subsidiaries are only in this case because of their
corporate relationship with PDVSA — i.e., because PDVSA nominally owns the PDVH shares,
and CITGO issued debt with change-of-control provisions.” (D.I. 199 at 40) Further, “[g]iven
that PDVSA brought this motion to quash jointly with its subsidiaries and co-signed the brief,
DL. 179 at 1, 19, it would ‘strain credulity to find that the interests of [the subsidiary] and [the
parent] were so distinct that they are not aligned’ for purposes of preclusion.” (/d.) (quoting
Anchor Glass Container Corp. v. Buschmeier, 426 F.3d 872, 880 (7th Cir. 2005)) Additionally,
PDVH is here as the custodian of PDVSA’s nominal property (the PDVH shares), and preclusion
applies where a “bailee seeks to relitigate” the “bailor’s right of recovery.” Union Ins. Soc’y of

Canton, Ltd. v. William Gluckin & Co., 353 F.2d 946, 953 (2d Cir. 1965); see also McLaughlin

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y. Board of Trs. of Nat’l Elevator Indus. Health Benefit Plan, 686 F. App’x 118, 122-123 Gd
Cir. 2017) (citing Taylor, 553 U.S. at 894) (noting that bailor-bailee relationship falls within
“substantive legal relationship” exception to same-party-or-privity requirement for res
judicata). '°

Moreover, it would be inequitable for PDVH or CITGO to succeed in quashing the writ
ona basis on which PDVSA is estopped. This case has been heavily litigated for years, in
multiple courts, and Crystallex has prevailed at every step. It has done so by defeating every
material argument raised in opposition to the relief that it has obtained. When the Court
permitted PDVH and CITGO to intervene as parties, it did not do so in contemplation of these
parties potentially undoing all the work that Crystallex, PDVSA, the Republic, this Court, and
other courts have done in this case.

Finally, as Crystallex also contends, “[w]hoever brings this motion, this Court is bound
by the Third Circuit’s published, precedential decision,” which held that the writ is valid. @D.1.
199 at 40) Hence, even if PDVH and CITGO were not in privity with PDVSA (which they are)
and were not estopped to the same extent as PDVSA (which they are), the Court’s obligation to
comply with the appellate mandate would still require the Court to deny the motion to quash.

4, The PDVSA Parties’ Delaware Law Challenges Are Untimely

 

A telated reason for denying the motion to quash, in addition to those already given

 

above, is that all the PDVSA Parties’ Delaware law challenges to the validity of the writ are
untimely. Given how this case has proceeded, the proper time to have made these arguments

was when the Court was evaluating Crystallex’s motion to issue and serve the writ of attachment.

 

10 Because PDVH and CITGO are in privity with PDVSA, and are therefore estopped to the
same extent as PDVSA, the Court need not decide whether PDVH and CITGO have standing.
Even assuming PDVH and CITGO have standing, they cannot prevail on the motion.

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Failing that, at minimum PDVSA needed to have put the Court on notice that, after the Court
granted Crystallex’s motion, PDVSA would still seek an opportunity to attack the validity of the
writ on state law grounds. PDVSA did not do so, notwithstanding this Court’s express inquiry.

The last section of the Court’s August 9, 2018 opinion (which denied PDVSA’s motion
to dismiss and granted Crystallex’s motion for the writ) identified four aspects of the parties’
dispute that, as of that date, “remain[ed] unsettled.” Crystallex Writ Op. at 425. None of the
questions that the Court posed expressly referenced Delaware law or the validity of the writ,
reflecting the Court’s belief that these issues had been settled (an impression that PDVSA never
tried to correct). The last of the Court’s questions did reference the possibility of a motion to
quash, but only with respect to whether the alter ego finding might be subject to further
evidentiary proceedings. The Court asked: “will Venezuela, PDVSA, and/or any other entity
appear and seek to supplement the factual record already developed in this litigation and, if so,
will such an entity attempt to (and, if so, be permitted to) argue that additional evidence
materially alters the Court’s findings, and thereby seek to quash the writ?” Id.

After asking that question, the Court cited a Delaware case and then referenced three
occasions on which Crystallex had stated or suggested that the validity of the writ might be

subject to challenge after it was issued.'' These statements appear to have been made by

 

1! The full citation sentence is as follows:

See generally Hibou, Inc. v. Ramsing, 324 A.2d 777, 783 (Del.
Super. Ct. 1974) (“[O]n a motion to quash the order the Court as
required by 10 Del. C. § 3506 must look at the Prima facie case
presented to ascertain whether the plaintiff has ‘a good cause of
action’ against all the defendants whose property has been
attached.”); D.I. 3-1 at 2 (Crystallex noting, “if any party has a
claim to the shares at issue, that party can raise the issue with the
Court after the writ is served”); Tr. at 21, 23 (Crystallex
recognizing PDVSA, as well as perhaps PDVH and Venezuela,
may have right to “come back in and challenge the writ”); D.I. 70

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Crystallex in contemplation of ordinary proceedings under Delaware law, where the imperative
is to get the writ in place, thereby attaching the property (and protecting the creditor) while
deferring litigation over the validity of the attachment as much as possible until after the writ is
served. Over time, as this case advanced — including as PDVSA intervened, moved to dismiss,
and vigorously litigated all issues, including by opposing Crystallex’s motion for a writ —
Crystallex appeared to come to the view that, in the circumstances here, all litigation about the
validity of the writ had occurred. (See, e.g., D.I. 49 at 23 (Crystallex arguing: “The standard
procedure in Delaware as L understand it is that when we are dealing with a foreign sovereign,
we would go to the Clerk’s Office, we would get a writ issued, we would serve it, and anyone
who had an objection would come in and move to quash the writ. And that is essentially ...
what we’re doing here.”); D1. 70 at 3 0.5 (Crystallex stating that PDVSA should have moved to
quash writ after issuance, “as is the ordinary course,” rather than “preemptively” moving to
dismiss, as PDVSA chose to do))

Thus, in August 2018, it seemed that, as this case had evolved, the litigation over the
validity of the writ had already occurred in connection with the Court’s decisions on the motion
for a writ and the motion to dismiss. For this reason (among others), the Court ordered the
parties to submit a joint status report before deciding whether and when to order service of the
writ. See Crystallex Writ Op. at 425. In the status report that the Court subsequently received,

PDVSA did not address the Court’s questions. (See D.L. 86 at 6-8) PDVSA provided no

 

at 2 n.4 (Crystallex noting, “PDVSA may, of course, seek to
challenge the writ on non-jurisdictional grounds by a motion to
quash brought after the writ has issued and before the Court allows
the execution process to commence”).

Crystallex Writ Op. at 425 (emphasis added).

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indication that it, or any other entity, would seek to quash the writ based on Delaware law or on
any other basis. Nor did PDVSA challenge Crystallex’s statement in its portion of the status
report (in response to the Court’s question about supplementing the record) that “Venezuela has
no new legal or factual basis on which to attempt to quash the writ at this stage of the
litigation.” (Id. at 5n.7) The Court then proceeded to issue the writ and to have it served on
PDVSA.”

The Court cannot find any indication, either in the record of this Court or that of the
Third Circuit, that the PDVSA Parties were purporting to reserve their rights to press Delaware-
law objections to the validity of the writ.3 For example, neither PDVSA’s mandamus petition
(in No. 18-2889) nor opening brief for the consolidated appeals (in Nos. 18-2797 & 18-3 124
stated or suggested that there were potentially unresolved issues of state law that this Court
would have to consider on remand. PDVSA’s reply in support of its mandamus petition
suggested that this Court might ultimately need to order additional briefing and hear additional
argument concerning how the sale of the attached shares should proceed, but net as to whether
the writ of attachment was even valid in the first place. (See Inre Petroleos de Venezuela, S.A.,
No, 18-2889, Doc. No. 3113093035 (3d Cir. Nov. 23, 2018) PDVSA Mandamus Reply Br. at 5-

6)4

 

12 Bven the way in which the PDVSA Parties now characterize their position in the August 2018
status report supports the Court’s conclusion that these parties acted as if the writ was valid,
subject only to their appellate rights. In an October 2020 letter to the Court, the PDVSA Parties
state that “PDVSA took the position that ‘until the Third Circuit finally resolves PDVSA’s
appeal from this Court’s denial of its sovereign immunity, this Court can take no further action
with respect to issuance or enforcement of the Writ.” (D.1. 230 at 4) (quoting DI. 86 at 8)

13 As previously noted, both the parties and the Court did allude to Delaware law issues during
the portion of the litigation leading to the grant of Crystallex’s motion for issuance of the writ

and denial of PDVSA’s motion to dismiss. See supra p. 18 1.7.

4 Crystallex, in its mandamus brief, reiterated to the Third Circuit the view that it had taken in

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The PDVSA Parties now insist that “PDVSA made clear” that “the question of the
propriety of the attachment was something that should be litigated later, and that the only issue
the Court should decide was the FSIA question” (Sept. Tr. at 38), but they fail to cite to where
they purportedly made this clear. Likewise, they assert that “from the beginning, everyone...
knew there was going to be an attack on the attachment” after the writ was granted (July Tr. at
67), yet they identify no basis from which the Court (or Crystallex) should have “known” to
expect a post-grant attack. When the Court directly asked counsel whether they could have
raised their Delaware law challenges to the writ in the earlier phase of the litigation, counsel
simply stated that “it wasn’t raised, and PDVSA had every right not to raise it. . . nor was it
required to be part of the litigation before this Court.” (Sept. Tr. at 40)

In the Court’s view, the PDVSA Parties’ challenges to the validity of the writ are
untimely, The Court agrees instead with Crystallex, which stated that the PDVSA Parties “were
supposed to raise all of these arguments when they were fighting .. . the issuance of the writ.”
(Sept. Tr. at 54) As Crystallex accurately put it, if “PDVSA thought that there were questions of

Delaware law that were additional questions that should have been adjudicated,” then “the time

 

this Court, explaining that challenges to the writ typically come after the writ has been served,
but PDVSA intervened and “preemptively oppose[d] attachment.” (See In re Petrdleos de
Venezuela, S.A., No. 18-2889, Doc. No. 3113055847 (3d Cir. Oct. 9, 2018) Crystallex
Mandamus Br. at 8) Crystallex added that this Court had never limited the briefing on either
Crystallex’s or PDVSA’s motions to jurisdiction issues and that PDVSA never asked for the
briefing be so limited. (Jd at 9) Likewise, in its brief on the consolidated appeals, Crystallex
explained that PDVSA had intervened to oppose the writ both on jurisdictional grounds and on
the merits. (Crystallex Int’! Corp. v. Bolivarian Republic of Venezuela, No. 18-2797, Doc. No.
3113141891 (3d Cir. Jan. 23, 2019) Crystallex Appeal Br. at 18) In its reply briefs in support of
its mandamus petition and appeal, PDVSA did not challenge these contentions or indicate that
there were any state law or validity issues remaining to be litigated in this Court. (See generally
PDVSA Mandamus Reply Br.; Crystallex Int'l Corp. v. Bolivarian Republic of Venezuela, No.
18-2797, Doc. No. 3113154696 (3d Cir. Feb. 6, 2019) PDVSA Appeal Reply Br.)

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to raise them” was when the Court was adjudicating Crystallex’s motion for a writ and PDVSA’s
motion to dismiss. (July Tr. at 80) It is now too late to raise these issues.

Thus, again, the PDVSA Parties’ motion to quash will be denied.
II. Crystallex’s Time To Execute The Writ Has Been And Remains Tolled

An issue that arose in the September 2020 argument was whether the writ of attachment
issued by the Court in August 2018 would expire after three years, pursuant to Delaware law, 10
Del. C. § 5081. (See, e.g., Sept. Tr. at 71-72) Having reviewed the parties’ subsequently-filed
letter briefs on this topic, the Court agrees with Crystallex that the stay orders issued by this
Court and the Third Circuit have tolled the three-year priority period of Section 5081. (See D.L.
228 at 1) The Court further agrees with Crystallex that the Court has discretion to issue
additional orders tolling the expiration of the three-year priority period should that become
necessary — depending on future events and their pace — where any delay is not of Crystallex’s
making. (See id, at 1-2) Such tolling is consistent with the principles of equitable tolling. See
CTS Corp. v. Waldburger, 573 U.S. 1, 10 2014) (explaining that statutes of limitations exist to
encourage plaintiff to pursue his rights diligently, and when extraordinary circumstance prevents
him from bringing timely action, restriction imposed by statute of limitations does not further its
purpose). The Venezuela Parties — the Republic, PDVSA, PDVH, and CITGO — do “not object
to a ruling by the Court that the running of the 3-year period specified in 10 Del. C. § 5081 is
tolled during the pendency of any stay order.” (D.I. 228 at 3) ConocoPhillips and the United
States take no position on the proper interpretation of the Delaware statute. (See id.)

The Court deems it the most appropriate exercise of its discretion to expressly order that
the three-year priority period has not yet begun, as Crystallex has not been permitted to execute

on its writ, and no writ of execution has been issued. Given the pace of these proceedings to

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date, and the large amount of litigation that likely lays ahead, it is not in the interests of any
parties, any other creditors, or the Court to leave doubt as to whether the priority period is
running.

Ill. Crafting The Contours Of The Sales Process

The Court stated in December 2019: “If the Supreme Court proceedings do not alter the
Third Circuit’s instructions to this Court, the Court intends to proceed to selling” PDVSA’s
shares of PDVH that are attached. (D.I. 154 at 4n.4) Consistent with this pronouncement,
Crystallex has been pushing the Court — ever since the Supreme Court denied the Republic’s
petition for certiorari in May 2020 — to move expeditiously toward a sale.!° By contrast, the
Venezuela Parties (in addition to pressing their Rule 60(b) motion and motion to quash) have
asked the Court to refrain from taking any steps toward a sale unless and until OFAC provides a
specific license, Additionally, on July 16 — the eve of the Court’s hearing on the pending
motions — the United States appeared, urging the Court to follow the Republic’s preferred path
and not to proceed toward a sale absent an OFAC license.

The Court directed that the disputes relating to sales procedures be briefed in parallel
with the briefing on the motions for relief from the writ of attachment. (D.I. 213, 218) In
addition to hearing from the parties and the government, the Court also received briefing from
non-party ConocoPhillips, which requests that its judgment against Venezuela be handled
according to the same process that the Court implements for Crystallex. (D.1. 180, 202)

The Court has decided that the most reasonable and appropriate course of action, in light

of the totality of the circumstances, is to set up the sales procedures and then to follow them to

 

15 At the September 17 oral argument, Crystallex asked the Court to set a target sale date during
the week of January 11, 2021. (See Sept. Tr. at 73) As is evident from the timing of today’s
Opinion, the Court has not granted this request.

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the maximum extent that can be accomplished without a specific license from OFAC. All parties
agree that, under current law and policy, a sale of PDVH shares cannot be completed without a
specific OFAC license. (See, e.g., Sept. Tr. af 86) But all the preparatory steps that can be taken
without such a license can, and should, be taken. The alternative would be to make Crystallex
wait for an indefinite additional period, which cannot be justified given the decade and resources
that Crystallex has already spent trying to collect on its judgment and given its uninterrupted
string of litigation victories. At this point, the Court agrees with Crystallex that “[t]here is no
just reason not to advance this litigation to the furthest point that OFAC’s sanctions regime
permits.” (D.L. 223 at 2)

Two principal arguments have been made against moving forward at this time, but
neither of them has persuaded the Court. First, the Venezuela Parties point out that OFAC may
never issue a specific license allowing the sale and, in that event, all the Court’s efforts toward
conducting the sale (and all the litigation accompanying those efforts) will have been wasteful.
The Court recognizes this risk. It does not deter the Court from progressing toward the sale
because the Court has been provided no indication as to the timing of an OFAC decision and it
seems possible that OFAC is waiting to make a decision until after this Court makes further
progress.

Second, the government expresses substantial concern that even “prefatory steps” toward
a sale will be “potentially damaging” to the Guaidé regime and, thereby, undermine U.S. foreign
policy and potentially raise national security issues. (Sept. Tr. at 47; see also id. at 31 (counsel
for Republic echoing U.S. concerns: “When the United States tell[s] you that the step like
establishing a sales process could have national security implications, that really needs to be

taken seriously.”)) As the Court has already noted, it does not, of course, take these serious

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concerns lightly. As the Court has also already stated, however, the OFAC licensing process
provides the better mechanism through which the Executive Branch can bring to bear the foreign
policy and national security interests on which Crystallex’s collection efforts might have an
impact. (See generally Sept. Tr, at 47 (government counsel acknowledging that “the OFAC
process is certainly the backstop for protecting U.S. interest[s]”); id. at 88; see also D.1. 212-2 at
2 (“{Ajny auction or sale of PDVH’s shares at this time would undermine current U.S. foreign
policy on Venezuela. Absent a change in the above considerations, these factors will weigh
heavily in OFAC’s license determination and could prove to be dispositive in adjudicating this
license application.”)) The government has not taken the position that the Court is “blocked
from moving forward” (Sept. Tr, at 105) and, in the Court’s view, the time has arrived for the
sales process to proceed. See also generally Petrdleos de Venezuela S.A. v. MUFG Union Bank,
N.A., No. 19-cv-10023, 2020 WL 613 5761, at *19 (S.D.N.Y. Oct. 16, 2020) (rejecting
government’s request for delay despite government's position that “[a]ny . . . loss of PAVSA’s
U.S.-based assets . . . would be detrimental fo U.S. policy and the interim government’s
priorities”).

Having decided that the Court should proceed with the sale to whatever extent is possible
in the absence of a specific OFAC license, the Court will now set out some of the contours of the
sales procedures that it will follow. The parties will be required to meet and confer and then

submit more specific proposals in the very near future.
« Consistent with all parties’ recognition of the Court’s broad discretion, the Court

will appoint a special master fo oversee the day-to-day and detailed

implementation of the sales procedures, which will comply with the “twin

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commands” of (i) selling the shares at a public sale to the highest bidder and (ii)
meeting the notice requirements. Delaware statutory provisions and Supreme
Court decisions set out the Court’s broad discretion. See 8 Del. C. § 324; Deibler
v. Atlantic Properties Group, Inc, 652 A.2d 553, 558 (Del. 1995). The parties
agree that the Court can appoint a special master, who will have the time and
expertise to fulfill the Court’s and the U.S. Marshal’s duties to prepare for and
conduct the sale. (See, e.g., D.1. 180 at 1-2, 4-6 (ConocoPhillips); D.I. 196 at 10
(Venezuela Parties), D.1. 198 at 18 (Crystallex); see also Sept. Tr. at 80, 97-98,

108, 112)

« With the assistance of the special master, the Court will set minimum
requirements — for example, for advertising and other notices to reach potential
bidders, for the materials that will be deposited in a data room to be accessed by
potential bidders — which any interested entity may supplement or exceed. (See
generally Sept. Tr. at 75, 79-80, 95; see also Deibler, 652 A.2d at 557-58
(“[J}udgment debtors are free to supplement such notice as the sheriff may
disseminate. As the owner of the property, they not only have the economic
interest rationally to expend the appropriate level of resources on notices, but also

have the fullest (and cheapest) access to relevant information.”))

«  Crystallex will be permitted to credit bid.

=" Crystallex’s priority status shall not be affected by the sales procedures that are

ultimately implemented.

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» To ensure that only serious bidders participate, and that only a bidder seriously
interested in completing the transaction wins at the auction, bidders will be
required to make a substantial good faith deposit, which will be refundable to all
but the winning bidder. The winning bidder may be required to make an

additional non-refundable deposit to provide adequate incentive to close the deal.

" The winning bidder will be given a reasonable amount of time to pursue any
necessary and desirable regulatory approvals, with the potential for a Court-

ordered extension upon a showing of good cause.

= The process will result in the sale of as many, but only as many, shares of PDVH
as are necessary to satisfy the judgment of Crystallex (and af any other judgment
creditor whose judgment may be added to the sale). The parties (including, if
they wish, ConcocoPhillips and the United States) shall work with the special
master to consider implementing procedures to permit any other judgment

creditor of Venezuela to request to participate in the Court’s process.

= The Venezuela Parties will have a fair and reasonable opportunity to be involved
in the prefatory procedures, the sale, and any negotiations, but the Court will
retain control over the sale.!© The Venezuela Parties will have a seat at the table,

but they will not be running the process.

 

16 The Court expects that the Venezuela Parties are likely right that an aspect of finalizing a sale
will be the necessity for “rather complex negotiations of minority rights in any stock that is
sold.” (Sept. Tr. at 96)

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A bit more needs to be said about this last point. The Court rejects the Venezuela Parties’
contention that only PDVSA should be permitted to conduct the sales process, purportedly
because only PDVSA has the incentive and knowledge to conduct a fair process. (See D.I. 188
at 3, 17) While Crystallex’s incentives, as creditor, may extend only so far as to ensure that the
result of the sales process is sufficient to recover what it is owed, and not necessarily to
maximize the value of the PDVH shares to be sold, the whole point of the public, noticed, full
and fair competitive sales process required under Delaware law is to maximize the sales price
obtained, regardless of the creditor’s incentive. The Court is confident that the procedures it
follows will result in the appropriate incentives. As for knowledge, the Court’s procedures will
include a data room, into which PDVSA may (and will be expected to and, if need be, ordered
to) deposit information that will be material to potential bidders’ understanding of the full and
fair value of the shares being sold. In other words, any unique knowledge held by PDVSA can —
and will — be obtained and utilized irrespective of whether PDVSA is permitted to conduct the

' sale itself.

Importantly, it would be inequitable to permit PDVSA to conduct the sale at this point,
Venezuela, through PDVSA and otherwise, has had every opportunity to pay its legitimate,
Court-recognized debt to Crystallex, including before, during, and after the arbitration, and
throughout the extensive litigation in this Court, the Court of Appeals, and the Supreme Court.
Even today, the Republic could pay Crystallex what it owes and avoid the sales process
altogether. But, having made Crystallex undertake a decade’s worth of extensive and expensive
efforts to collect on its judgment, the Court is not going to permit a highly-recalcitrant judgment
debtor to conduct its own sales process over the objection of its repeatedly-victorious judgment

creditor.

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Each day that Crystallex does not recover on its judgment is arguably something of an

affront to the United States judicial system. Those days must soon come to an end.
CONCLUSION

For the reasons discussed above, Venezuela’s motion for relief under Federal Rule of
Civil Procedure 60(b) will be denied, as will the motion to quash the writ of attachment filed by
PDVSA, PDVH, and CITGO, Crystallex’s motion to set the sales procedures will be granted in
patt and denied in part. The parties will be ordered to meet and confer and then provide further
input on the specific manner in which the Court should proceed toward conducting the sale of
PDVSA’s shares of PDVH in an amount sufficient to satisfy the judgment that Venezuela owes

Crystallex. An appropriate Order follows.

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